                           UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TENNESSEE
                                 AT CHATTANOOGA


 UNITED STATES OF AMERICA                      )
                                               )
 vs.                                           )    No. 1:15-CR-23-PLR-SKL
                                               )
 DENNIS REED                                   )



                                         ORDER



        Magistrate Judge Susan K. Lee filed a report and recommendation recommending

 the Court: (1) grant Defendant=s motion to withdraw his not guilty plea to Count One of

 the Indictment; (2) accept Defendant=s plea of guilty to the lesser included offense of Count

 One of the Indictment, that is, of conspiracy to distribute and possess with intent to

 distribute 5 grams or more of methamphetamine (actual) or 50 grams or more of a mixture

 and substance containing methamphetamine; (3) adjudicate Defendant guilty of the

 charges set forth in the lesser included offense of Count One of the Indictment; and (4) find

 Defendant shall remain in custody until sentencing in this matter [R. 151]. Neither party

 filed a timely objection to the report and recommendation. After reviewing the record, the

 Court agrees with the magistrate judge=s report and recommendation. Accordingly, the

 Court ACCEPTS and ADOPTS the magistrate judge=s report and recommendation [R.

 151] pursuant to 28 U.S.C. ' 636(b)(1) and ORDERS as follows:

        (1)    Defendant=s motion to withdraw his not guilty plea to Count One of the



Case 1:15-cr-00023-PLR-SKL        Document 203       Filed 07/06/15    Page 1 of 2     PageID
                                        #: 668
            Indictment is GRANTED;

      (2)   Defendant=s plea of guilty to the lesser included offense of Count One of the

            Indictment, that is, of conspiracy to distribute and possess with intent to

            distribute 5 grams or more of methamphetamine (actual) or 50 grams or more

            of a mixture and substance containing methamphetamine, is ACCEPTED;

      (3)   Defendant is hereby ADJUDGED guilty of the charges set forth in the lesser

            included offense of Count One of the Indictment;

      (4)   Defendant SHALL REMAIN in custody until sentencing in this matter

            which is scheduled to take place on October 2, 2015 at 10:30 a.m. before

            the Honorable Pamela L. Reeves, United States District Judge.

      SO ORDERED.

      ENTER:


                                       ____________________________________
                                       UNITED STATES DISTRICT JUDGE




Case 1:15-cr-00023-PLR-SKL    Document 203       Filed 07/06/15    Page 2 of 2    PageID
                                    #: 669
